   Case 2:10-md-02179-CJB-DPC Document 9087-3 Filed 04/02/13 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



   In re: Oil Spill by the Oil Rig                            MDL No. 2179
          “Deepwater Horizon” in the Gulf
          of Mexico, on April 20, 2010
                                                              SECTION: J
   This Document Relates to:
                                                              JUDGE BARBIER
                  Nos. 12-970 and 13-492
                                                              MAGISTRATE SHUSHAN




                        DECLARATION OF STEPHEN J. HERMAN

       I, Stephen J. Herman, respectfully declare, under penalty of perjury, that the following is
true and correct to the best of my knowledge, recollection, and belief:

   1. I am licensed to practice law in the State of Louisiana, the United States District Court
       for the Eastern District of Louisiana, the U.S. Fifth Circuit Court of Appeals, and the U.S.
       Supreme Court.

   2. James Parkerson Roy and I have been appointed by the Court to serve as Co-Lead Class
       Counsel for the Economic & Property Damages Settlement Class.

   3. This Declaration is submitted in response to the Declaration of Keith Moscowitz, dated
       March 15, 2013 [Doc. 8910-13].


   4. Mr. Moskowitz’s Declaration fails to account for the fact that the process generally
       described in Paragraphs 4-6 of the Moskowitz Declaration was typically followed where
       input from the Parties was sought by the Program to address a question raised by the
       Claims Administrator and/or one of the Program Vendors; by contrast, the notion that
       costs should be “matched” and/or that revenue should be “smoothed” originated from and
       was urged by BP.
    Case 2:10-md-02179-CJB-DPC Document 9087-3 Filed 04/02/13 Page 2 of 6




                                                 Background

    5. I hereby adopt and incorporate the statements in the Declaration of Stephen J. Herman,
        dated July 23, 2012 [Doc. 7104-5].

    6. Since approximately June of 2012, I, along with other Class Counsel, have participated in
        numerous in-person and e-mail communications with BP Counsel, the Claims
        Administrator, and other representatives of the Settlement Program and its Program
        Vendors regarding the interpretation, implementation and application of the Economic &
        Property Damages Settlement Agreement and the administration of the Court-Supervised
        Settlement Program.

    7. In conjunction with this effort, a “compendium” generally described by Mr. Moskowitz
        in Paragraph 6 of his declaration has been created and maintained by the Program. Many
        of the topics relate to administrative or procedural issues or policies regarding the
        submission, processing and/or appeal of Class Members’ claims. Some of the topics
        relate to purely internal administrative issues and procedures for the Program Vendors to
        follow. Some of the topics relate to clarifications by the Seafood Neutral with respect to
        the interpretation or application of the Seafood Compensation Plan. Finally, there have
        been clarifications and/or interpretations of the substantive provisions of the Settlement
        Agreement, which include:
                a. Claims Administrator Interpretations.
                b. Clarifications or Interpretations Agreed to by the Parties.
                c. Court-Approved Interpretations. 1



        1
          While Mr. Moskowitz’s Declaration refers to a total of approximately 340 issues, many of them,
as noted, are purely for internal Program administrative purposes, and many of them overlap. I believe
that the Program is currently in the process of attempting to harmonize related issues and revised or
superseded policies so that they are current, accurate and complete. I understand that approximately 64 of
these interpretations and/or policies have already been finalized and made available to Class Members on
the Settlement Program Website, and that the remainder of the relevant “compendium” items will be
made available once complete. Of course, many of these policies and/or interpretations were previously
made available by the Program to Class Members, in the form of Policy Statements, Alerts, FAQs,
Instructions, etc., as well as thru Class Counsel, and via individualized communications between the
Program Vendors and Claimants (and/or the Claimants’ CPAs and/or attorneys).
    Case 2:10-md-02179-CJB-DPC Document 9087-3 Filed 04/02/13 Page 3 of 6




    8. Within this hierarchy, each type of decision is accorded different weight. A Claims
        Administrator Interpretation is binding on the Program Vendors, and is provided to the
        Settlement Program Appeal Panelists; however, either a Class Member or BP is free to
        argue to an Appeal Panelist or Panel that the Claims’ Administrator’s interpretation is
        inconsistent with the provisions or intent of the Settlement Agreement, and the
        Settlement Program Appeal Panelist or Panel is free to apply the Settlement Agreement
        differently with respect to that individual Claim. A Clarification or Interpretation
        Agreed to by the Parties is binding, not only on the Program Vendors, but also on the
        Settlement Program Appeal Panelists and Panels. Theoretically, the clarification or
        interpretation could be overruled by the Court, on discretionary review of a Settlement
        Program Appeal in which the Class Member argues that Class Counsel’s agreement does
        not accurately reflect the provisions or intent of the Settlement Agreement. Finally, a
        Court-Approved Interpretation is binding on the Program Vendors, the Claims
        Administrator, and the Settlement Program Appeal Panelists and Panels. 2


               Events Leading up to Class Counsel’s Request for Formal Policy Statement

    9. Despite the fact that BP had expressly agreed, not only in the Settlement Agreement
        itself, but also in direct response to Michael Juneau’s inquiry of September 25, 2012, 3
        that once a Class Member satisfied Causation, all losses set forth in the Compensation
        Framework would be deemed to have been caused by the Spill, without any inquiry into
        potential alternative causation, 4 (thereafter formalized in a Policy Statement of October
        10, 2012), 5 BP’s Counsel took the position in late November and/or early December of


        2
          Class Counsel understood, intended and agreed that the Court’s interpretation would be final,
pursuant to Section 4.3.4 of the Settlement Agreement. See also, Section 38.40 (which defines “Court” as
“the United States District Court for the Eastern District of Louisiana, Judge Carl Barbier, presiding, in In
Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No.
2179”). BP apparently takes the position that the Court’s interpretation may be subject to further
challenge or review.
        3
            See Michael Juneau E-Mail to the Parties (Sept. 25, 2012) [Doc. 8963-66].
        4
            See Letter from Mark Holstein to the Claims Administrator (Sept. 28, 2012) [Doc. 8963-67].
        5
            See Claims Administrator’s Announcement of Policy Decisions (Oct. 10, 2012) [Doc. 8963-71].
       Case 2:10-md-02179-CJB-DPC Document 9087-3 Filed 04/02/13 Page 4 of 6




          2012, in response to television announcements authored and delivered by the Claims
          Administrator in connection with the Supplemental Information Program, 6 that the
          submission of a Claim by someone who might have subjective doubts about whether the
          loss was caused by the Spill was somehow “fraudulent” even though the Claim satisfied
          the objective Causation Framework set forth in Exhibit 4B of the Settlement Agreement,
          to which BP agreed.

       10. Around this same time, the Parties and the Claims Administrator appeared before the
          Court in connection with a dispute over the question of whether grants and other
          donations to non-profits should be considered “revenue” under the Settlement
          Agreement, pursuant to Section 4.3.4.

       11. While in Court, Michael Juneau, on behalf of the Claims Administrator, raised the issue
          of alternative causation, as revealed through the discussions regarding approval of the
          Supplemental Information Program, and BP confirmed to the Court (and to the Claims
          Administrator as well as Class Counsel) that once a Class Member satisfied the Causation
          Framework, all losses set forth in the Compensation Framework would be deemed to
          have been caused by the Spill, without any inquiry into potential alternative causation. 7

       12. Nevertheless, Counsel for BP were continuing to make these types of arguments,
          expressly and/or implicitly, in communications with the Settlement Program and within
          individual Settlement Program Appeals.

       13. Among other things, Counsel for BP, as recounted in Paragraphs 7-9 of the Moskowitz
          Declaration, repeatedly attempted to question the Program Accountants about why they
          were not “smoothing” revenue and/or “matching” expenses – and/or otherwise inquiring
          into potential alternative causation (and/or lack of Causation) – culminating in the E-Mail




          6
              See Settlement Agreement, Section 4.4.15.
          7
              See E-Mail from Judge Barbier re “Meeting Today re Non-Profits and SIP” (Dec. 12, 2012) [Doc. 8913-
24].
Case 2:10-md-02179-CJB-DPC Document 9087-3 Filed 04/02/13 Page 5 of 6




   from Dan Cantor to Michael Juneau re “Accountant Questions” dated December 11,
   2012. 8

14. Most, if not all, of the “compendium” items referenced in Paragraph 6 of the Moskowitz
   Declaration involved issues for which the Settlement Program sought input from the
   Parties due to some question or confusion on the part of the Claims Administrator or
   Program Vendors.

15. In this case, by contrast, the Program appeared to be interpreting and applying the
   Settlement Agreement correctly.

16. Indeed, to Class Counsel’s knowledge, neither the Claims Administrator nor the Program
   Accountants had any questions or confusion about how to apply the Business Economic
   Loss Frameworks [Settlement Agreement Exhibits 4A-4C] in this regard.

17. Rather, BP appeared to be questioning, and implicitly attacking, the Program
   Accountants’ (correct) interpretation and application of the Settlement Agreement.

18. Class Counsel, therefore, submitted the Request for Policy Statement on December 16,
   2012, 9 in order to prompt a “Clarification or Interpretation Agreed to by the Parties”, or,
   if necessary, a “Court-Approved Interpretation”, with the hope that it would prevent BP
   from filing what Class Counsel considered to be dilatory and largely frivolous appeals.
   (Or, at the very least, to prevent any Settlement Program Appeal Panelist or Panel from
   being persuaded by such baseless or disingenuous arguments by BP.)

                                Consideration of BP’s Position

19. Prior to the issuance of the Policy Statement by the Claims Administrator on January 15,
   2013, BP was afforded the opportunity to submit a lengthy position paper, which was
   attached as Exhibit 2 to the Claims Administrator’s Referral of the Panel Issue to Judge



   8
       Doc. 8963-74.
   9
       Doc. 8963-48.
Case 2:10-md-02179-CJB-DPC Document 9087-3 Filed 04/02/13 Page 6 of 6
